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                        Attorneys for Defendant
               7        DESERT PALACE, LLC f/k/a
                        DESERT PALACE, INC.
               8
                                                           UNITED STATES DISTRICT COURT
               9
                                                               DISTRICT OF NEVADA
             10

             11            SHANE KAUFMANN,                                   Case No. 2:18-cv-02037-KJD-EJY
             12                               Plaintiff,
                                                                            STIPULATION AND ORDER TO DISMISS
             13            vs.                                              ENTIRE ACTION WITH PREJUDICE
             14            DESERT PALACE, INC., d/b/a
                           CAESARS PALACE, DOES I through X,
             15            and ROE BUSINESS ENTITIES I through
                           X, inclusive,
             16
                                              Defendants.
             17

             18                   Plaintiff SHANE KAUFMANN and Defendant DESERT PALACE, LLC f/k/a DESERT
             19            PALACE, INC., by and through their respective counsel of record, hereby stipulate and respectfully
             20            request an order dismissing the entire action with prejudice.
             21                   The parties agree that no party to this stipulation shall be deemed to be a prevailing party in
             22            this action as to the claims dismissed by this stipulation and that no party will file for an award of
             23            attorneys’ fees or costs pursuant to any rule, statute, or law, whether local, state, or federal, in any
             24            forum that would be available for the claims dismissed by this stipulation.
             25            ///
             26            ///
             27            ///
             28
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        Attorneys At Law
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                                      Case 2:18-cv-02037-KJD-EJY Document 75 Filed 09/28/21 Page 2 of 2



               1                      Each party to this stipulation shall bear its own costs and fees for the claims dismissed by this
               2           stipulation.
               3
                                Dated: September 27, 2021.                     Dated: September 27, 2021.
               4
                                Respectfully submitted,                       Respectfully submitted,
               5

               6

               7                /s/ Danielle J. Barraza                       /s/ Ethan D. Thomas
                                JASON R. MAIER, ESQ.                          PATRICK H. HICKS, ESQ.
               8                                                              ETHAN D. THOMAS, ESQ.
                                DANIELLE J. BARRAZA, ESQ.
                                MAIER GUTIERREZ & ASSOCIATES                  LITTLER MENDELSON, P.C.
               9
                                                                              Attorneys for Defendant
             10                 KATHLEEN J. ENGLAND, ESQ.                     DESERT PALACE, LLC f/k/a
                                GILBERT & ENGLAND LAW FIRM                    DESERT PALACE, INC.
             11
                                Attorneys for Plaintiff
             12

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             15                                                                IT IS SO ORDERED.
             16
                                                                                         September 28
                                                                               Dated: _____________________, 2021.
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             19                                                                _______________________________________
                                                                               UNITED STATES DISTRICT JUDGE
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LITTLER MEND ELSO N, P.C.                                                       2.
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